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                                                                       FILED & ENTERED

                                                                              MAR 31 2021

                                                                         CLERK U.S. BANKRUPTCY COURT
                                                                         Central District of California
                                                                         BY llewis     DEPUTY CLERK


                    UNITED STATES BANKRUPTCY COURT
                       CENTRAL DISTRICT OF CALIFORNIA
                               LOS ANGELES DIVISION

In re:                                  Case No.: 2:21-bk-12546-ER

                                        Chapter 11
Hoplite Entertainment, Inc.
                                        ORDER SCHEDULING INITIAL STATUS
                                        CONFERENCE PURSUANT TO 11 U.S.C. § 1188
             Debtor.                    (Subchapter V)

                                        Status Conference Date
                                        Date: May 26, 2021
                                        Time: 10:00 a.m.
                                        Place: Ctrm. 1568
                                                Roybal Federal Building
                                                255 E. Temple Street
                                                Los Angeles, CA 90012

          A petition for relief under chapter 11 of the United States Bankruptcy Code having been
  filed by the above referenced debtor (the “Debtor”) on March 26, 2021 and the Debtor having
  elected to proceed under Subchapter V on the same day, the Court HEREBY ORDERS AS
  FOLLOWS:

  1) The case status conference to be convened under 11 U.S.C. § 1188(a) (the “Subchapter V
     Status Conference”) shall be held on May 26, 2021 at 10:00 a.m. at the United States
     Bankruptcy Court for the Central District of California located at the Roybal Federal
     Building, 255 E. Temple Street, Los Angeles, CA 90012, Courtroom 1568.

  2) By no later than May 12, 2021, the Debtor shall file and serve on the Court, the United States
     Trustee, the Subchapter V trustee, and all parties in interest, a report not exceeding 20 pages
     (the “Subchapter V Status Conference Report”) that discusses the status of the plan of
     reorganization and includes the following information:
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           i) A brief description of the Debtor’s businesses and operations, if any, and the principal
                assets and liabilities of the estate;
           ii) Details on the efforts the Debtor has undertaken or intends to undertake to attain a
                consensual plan of reorganization;
           iii) A statement as to whether funds have been deposited with the Subchapter V trustee;
                and
           iv) Disclosure of any matters which may affect the administration of the estate under
                Subchapter V.

3) Any party in interest may file a response to the Subchapter V Status Conference Report by no
   later than May 19, 2021.

4) The Debtor shall file and serve a plan by no later than June 28, 2021 which is 90 days from
   the order for relief under this chapter, unless the Court extends the filing deadline. The Court
   will not require the Debtor to file a separate disclosure statement, but any Plan filed must
   include a section which sets forth the information required under 11 U.S.C. § 1125(a).1

5) An order confirming the plan must be filed by no later than September 30, 2021 2. The Court
   will fix additional dates and deadlines based on information presented at the Subchapter V
   Status Conference.

6) Except as provided in FRBP 3003(c)(3), proofs of claim or interest must be filed by no later
   than June 2, 2021.

7) At the request of any interested party or on its own motion, the Court may set a further
   Subchapter V Status Conference.

8) The Debtor, or if the Debtor is not an individual, a person designated to speak on behalf of
   the Debtor, shall appear and provide testimony under penalty of perjury at the Subchapter V
   Status Conference, or any further Subchapter V Status Conference, unless otherwise directed
   by the Court.

9) The Subchapter V trustee must appear at the Subchapter V Status Conference and report on
   the status of the case.

10) The failure to comply with this order may result in the conversion or dismissal of this case, or
    in other appropriate action by the Court, without further hearing or notice.

IT IS SO ORDERED.




1
    The Court may authorize the application of § 1125(a) in Subchapter V cases. See 11 U.S.C. § 1181(b).
2
    See Interim Rule 3017.2.
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   Date: March 31, 2021
